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 4
 5   Attorney for Defendant, ABDEL BASET JAWAD
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 7
 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                      )        CASE NUMBER: 1:06–CR-0365-LJO/DLB
                                                    )
11                         Plaintiff,               )        STIPULATION AND ORDER TO
                                                    )        CONTINUE MODIFICATION
12   v.                                             )        HEARING ON CONDITIONS OF
                                                    )        RELEASE
13   ABDEL BASET JAWAD,                             )
                                                    )        Date:      Friday, Ausgust 31, 2012
14                         Defendant.               )        Time:      1:30 p.m.
                                                    )        Courtroom: Honorable Gary A. Austin
15
16          IT IS HEREBY STIPULATED by and between plaintiffs, the United States of America, and
17   the defendant by and through his counsel of record, that the time set for the Modification Hearing on
18   Conditions of Release on Friday, Agust 31, 2012 at 1:30 p.m. be moved to Wednesday, September 12,
19   2012 at 1:30 p.m. The reason for this continuance is the need for further information on the value of
20   the pledged real property.
21                                                        Respectfully submitted,
22
23   DATED: August 31, 2012                               /s/ Salvatore Sciandra
                                                          SALVATORE SCIANDRA
24                                                        Attorney for Defendant,
                                                          ABDEL BASET JAWAD
25   ///
26   ///
27   ///
28   ///
     Case 1:06-cr-00365-LJO-BAM Document 186 Filed 08/31/12 Page 2 of 2


 1   ///
 2   ///
 3   DATED: August 31, 2012                                /s/ Mark E. Cullers
                                                           MARK E. CULLERS
 4                                                         Assistant United States Attorney
 5
 6                                                  ORDER
 7
 8            IT IS SO ORDERED.
 9            Dated:   August 31, 2012                        /s/ Gary S. Austin
     6i0kij                                             UNITED STATES MAGISTRATE JUDGE
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     U.S. v. ABDEL BASSET JAWAD
     STIPULATION AND [PROPOSED] ORDER TO CONTINUE MODIFICATION HEARING ON CONDITIONS OF RELEASE
     CASE NUMBER: 1:06-CR-0365-LJO                                                                2
